     Case: 1:16-cr-00438 Document #: 62 Filed: 03/14/19 Page 1 of 1 PageID #:337

                      UNITED STATES DISTRICT COURT
            FOR THE Northern District of Illinois − CM/ECF LIVE, Ver 6.2.2
                                 Eastern Division

UNITED STATES OF AMERICA
                                          Plaintiff,
v.                                                          Case No.: 1:16−cr−00438
                                                            Honorable John Z. Lee
Artem Vaulin, et al.
                                          Defendant.



                         NOTIFICATION OF DOCKET ENTRY



This docket entry was made by the Clerk on Thursday, March 14, 2019:


       MINUTE entry before the Honorable John Z. Lee:As to Artem Vaulin. The status
hearing set for 4/16/19 is reset to 4/17/19 at 9:30 a.m. Mailed notice (ca, )




ATTENTION: This notice is being sent pursuant to Rule 77(d) of the Federal Rules of
Civil Procedure or Rule 49(c) of the Federal Rules of Criminal Procedure. It was
generated by CM/ECF, the automated docketing system used to maintain the civil and
criminal dockets of this District. If a minute order or other document is enclosed, please
refer to it for additional information.

For scheduled events, motion practices, recent opinions and other information, visit our
web site at www.ilnd.uscourts.gov.
